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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

AIG SPECIALTY INSURANCE §  CIVILACTIONNO. 6:21-CV-04191-RRS -CBW
COMPANY (f/k/a CHARTIS SPECIALTY §
INSURANCE COMPANY) §
§ JUDGE ROBERT R SUMMERHAYS
VS. §
§
KNIGHT OIL TOOLS, INC. § MAGISTRATE CAROL B WHITEHURST
§
§ (ORAL ARGUMENT REQUESTED)

INTERVENOR RIPPY OIL COMPANY’S MOTION TO DISMISS COMPLAINT FOR
DECLARATORY JUDGMENT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

Proposed Intervenor, Rippy Oil Company (“ Rippy Oil”), files this Motion to Dismiss AIG
Specialty Insurance Company formerly known as Chartis Specialty Insurance Company’s (“AIG”),
Complaint for Declaratory Judgment pursuant to Federal Rule of Civil Procedure 12(b)(1) (2)(3)(6)
and (7) and Federal Rule of Civil Procedure 19(a), (b)and (c); the Declaratory Judgment Act, 28
U.S.C. §2201 (a); the Anti-Injunction Act, 28 U.S.C, §2283; and principles of comity, federalism,
and abstention,

A. This Court Should Dismiss AlG’s Complaint for Declaratory Judgment as there
is no Case or Controversy between AIG and KOT

1, AIG filed this declaratory judgment action seeking a judicial declaration against
Knight Oil Tools, Inc.(“KOT”) that “[c]overage under the ASIC policy (Chartis Specialty Insurance
Company policy No. BE 1374599) is not triggered unless and until the limits of liability of the
Scheduled Underlying Insurance and any other applicable Other Insurance ( ACE American
Insurance Company policy no. HDO G24940214) are exhausted by payment of Loss” and “[t]here
is no coverage under the ASIC policy for Knight’s liability.” (DOC. #1, pp. 17-18).

Dn AIG did not name the Scheduled Underlying Insurance carrier ACE American
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Insurance Company (“ACE”) as a necessary party to the declaratory judgment action. Nor did AIG
sue another necessary party: proposed Intervenor Rippy Oil, third-party beneficiary under the ACE
policy and a judgment creditor of ACE and AIG named insured Knight Oil Tools Inc now known
as Knight Oil Tools LLC, ( “Knight” or “KOT”). (DOC.#1, p.1).

3, The Declaratory Judgment Act provides that “[i]n a case of actual controversy within
its jurisdiction, ...any court of the United States, upon the filing of an appropriate pleading, may
declare the rights and other legal relations of any interested party seeking such declaration.” 28
U.S.C § 2201(a). “As a general rule , an actual controversy exists where ‘a substantial controversy
of sufficient immediacy and reality [exists] between parties having adverse legal interests.” Orix
Credit Alliance, Inc. v. Wolfe, 212 F.3d 891. 896 (5" Cir. 2000).

4. There is no adverse dispute between AIG and KOT, as ACE and AIG defended KOT
in the underlying Texas lawsuit brought by Rippy Oil against KOT, and AIG continues to prosecute
appeal of a final judgment in favor of Rippy Oil against KOT to the Texas Supreme Court through
attorneys retained by AIG to represent KOT. AIG’s Complaint contains no factual allegations of
misconduct of KOT as a basis to deny coverage nor does it remotely suggest AIG intends to
withdraw from KOT’s defense. (Doc #1, pp. 1-18). Indeed, just the opposite is true as AIG directed
the filing of a Petition for Review in the Texas Supreme Court after filing this Declaratory
Judgement Action. (See Unopposed Motion for Extension of time to file Petition for Review in
Supreme Court of Texas, No 21-1115, styled Knight Oil Tools Inc. v. Rippy Oil Company, et al).

oF Moreover, there is no possible injury to KOT who has emerged from Chapter 11
Bankruptcy. KOT’s Joint Chapter Plan of Reorganization of November 29, 2017 was confirmed

December 1, 2017 and the bankruptcy proceeding terminated on June 17, 2019. The Order lifting
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stay in the bankruptcy court specifically allowed Plaintiff Rippy Oil to seek recovery on the claims
asserted in the underlying lawsuit solely from applicable insurance policies of Defendant KOT and
the other non-debtor defendants. The Order further set forth that Defendant KOT's liability in the
underlying lawsuit and for any claims or causes of action that were or could have been raised in that
lawsuit, shall be limited to the extent of any coverage provided by Defendant KOT's applicable
insurance policies, (Doc #1, Exhibit C). On information and belief, AIG did not file a claim for relief
in the KOT bankruptcy proceeding or otherwise seek permission from the bankruptcy court to pursue
this Declaratory Judgement action against KOT.

6. Declaratory relief is available only when there is an actual, substantial case or
controversy between the parties Plaintiff AIG and Defendant KOT who have adverse legal interests
of sufficient immediacy and reality to warrant the exercise of this court’s remedial power under the
Declaratory Judgement Act. Plaintiff AIG does not allege the existence of an actual case or
controversy between AIG and KOT which is a condition precedent for this declaratory judgment
action.

7. Accordingly, Intervenor Rippy Oil respectfully submits that a declaratory judgement
action is not available between AIG and KOT, and declaratory judgment relief is not appropriate
in this case, where there is no substantial case or controversy between AIG and KOT and no possible
injury to KOT. AIG’s Complaint for Declaratory Judgment should be dismissed pursuant to Federal
Rule of Civil Procedure 12(b)(1) and (6).

B. This Court Should Exercise its Discretion to Dismiss as Parallel Litigation is Pending

in Texas State Court between All Necessary Parties

8. A district court may choose to dismiss a declaratory judgment action brought pursuant
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to 28 U.S.C. §2201(a) by not exercising jurisdiction over it when parallel litigation is pending in
state court, especially when this court does not have authority to grant declaratory relief under the
Anti-Injunction Act, 28 U.S.C. §2283 against the parallel state court action.

9, In making a decision whether to dismiss, the Fifth Circuit in Orix Credit Alliance,

Inc. v. Wolfe, 212 F. 3d 891 (5" Cir. 2000) has outlined three issues, a federal district court must

determine:
a, whether the declaratory judgment action is justiciable;
b. whether the court has authority to grant declaratory relief; and
C. whether the court should exercise its discretion to decide or dismiss the
action.

See also Sherwin- Williams Co. v. Holmes Country, 343 F. 3d 383, 387 (5" Cir. 2003)

10. At the time AIG filed this declaratory judgment action on December 7, 2021, Rippy
Oil had a pending Texas state court action against KOT wherein a final judgement in favor of Rippy
Oil against KOT had been affirmed by the Waco Court of Appeals. An extension to file a Petition
for Review is currently pending in the Texas Supreme Court. As part of post-judgement proceedings
in that case, Rippy Oil is preparing to file the attached Application for Turnover Order to satistify
the final judgement from the policy proceeds of the ACE American Insurance Company (ACE) and
Chartis Specialty Insurance Company (AIG) policies issued to named insured KOT as permitted by
the Order lifting bankruptcy stay. (See Exhibit 1 Application for Turnover Order). Additionally,
Rippy Oil has a pending breach of contract and declaratory judgment action pending in the 133"
Judicial District Court in Houston, Harris County, Texas seeking to satisfy the final judgement from

the ACE and AIG policies, (See Exhibit 2, Plaintiff's Original Petitions).
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C. No Authority to Grant Declaratory Relief

11. _ Ifthe Court concludes, that this declaratory action is justiciable, the Court must still
determine whether it has the authority to grant declaratory relief. Under the second element of the
analysis, a district court does not have authority to consider the merits of a declaratory judgment
action when:

a. the declaratory action Defendant was previously a party in a related in state
court action;

b. the state case involved the same issues as those in the federal court; and

C. the district court is prohibited from enjoining the state proceeding under the
Anti-Injunction Act, 28 U.S.C. §2283.

12. Here, all three factors are met. The Rippy Oil Company v. KOT, Texas state court
suit in the 278" Judicial District Court of Leon County, Texas had been through a fully adversarial
jury trial, verdict, final judgment, and appeal to the Waco Court of Appeals when AIG filed this
declaratory judgment action. Pursuant to the order lifting the KOT bankruptcy stay , Rippy Oil is
seeking satisfaction of its final judgment against the policy proceeds of the ACE and AIG policies,
not the assets of KOT. Additionally, the pending Texas state court action, in the 133" Judicial
District Court against ACE, AIG, and Risk Specialists seeks a declaration that ACE and AIG have
coverage to pay the final judgment under the same policies AIG seeks to bring before this court.
Because the Anti-Injunction Act would prohibit this court from enjoining these Texas state court

proceedings, Plaintiff AIG’s request for declaratory judgment against KOT should be dismissed.
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D. The Court Should Exercise its Discretion to Dismiss Based on Principles of Comity,
Federalism, and Abstention

13, Evenif the court had the authority,to grant relief, it should exercise its discretion to
dismiss this federal court declaratory judgment action. The Fifth Circuit in St. Paul Ins. Co. v. Trejo,
39 F. 3d 585, 590-591 (Sth Cir. 1994), identified seven non-exclusive factors for this court to
consider when determining whether to exercise discretion to assert its jurisdiction in a declaratory
judgment action:

a. whether there is a pending state action in which all of the matters in

controversy may be fully litigated;

b. whether the Plaintiff filed suit in anticipation of a lawsuit filed by the
Defendant;

Cc. whether the Plaintiff engaged in forum shopping in bringing the suit;

d. whether possible inequities in allowing the declaratory Plaintiff to gain

precedence in time or to change forums exists;

€, whether the federal court is a convenient forum for the parties and witnesses;

f. whether retaining the lawsuit would serve the purposes of judicial economy;
and

g. whether the federal court is being called on to construe a state judicial decree

involving the same parties and entered by the court before whom the parallel
state suit between the same parties is pending.
14, As observed by the Fifth Circuit, the “Trejo factors” enumerated above address all

three aspects of the overriding analysis outlined by the Supreme Court in Brillhart v. Excess
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Insurance Company of America, 316 U.S. 491, 62 S. Ct. 1173, 86 L. Ed. 1620(1942): federalism,
fairness, and efficiency.

15. All three aspects of the Trejo test weigh against this court exercising its jurisdiction
over this declaratory judgment case:

a. federalism - the proper allocation of the decision - making between state and
federal court;

b. fairness - distinguishing between legitimate and improper reasons for forums
selection; and

C. efficiency - avoidance of duplicative or piecemill litigation where possible.

16. Accordingly, even if the declaratory action between AIG and KOT is justiciable and
this Court has authority to grant declaratory relief, this Court should exercise its discretion to decline
jurisdiction and to dismiss this declaratory action.

17. Should the Court grant , judgement creditor and third-party beneficiary Rippy Oil
Company the right to intervene , Intervenor Rippy Oil Company will file a Memorandum of Law in
support of its request that the Court grant its Motion to Dismiss. In the alternative, Intervenor Rippy
Oil Company respectfully requests that the Court abate or stay this case until resolution of the
previously filed, parallel, and pending Texas state court actions are concluded. Finally, Intervenor
Rippy Oil Company requests such other and further relief, whether in law or equity to which it shows

itself justly entitled.
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Respectfully submitted,

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Signed by Mike Morris with permission

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CERTIFICATE OF SERVICE

 

I certify that on this _—s day of January, 2022, a true and correct copy of the foregoing
instrument was served via electronic means through transmission facilities from the Court upon
those parties authorized to participate and access the Electronic Filing System for the Western
District of Texas:

 
